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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ASHLEY PIERRELOUIS, Individually
 and On Behalf of All Others Similarly
 Situated,

                Plaintiff,                              Case No. 18-cv-04473

                v.                                      Hon. Jorge L. Alonso

 GOGO INC., MICHAEL J. SMALL,
 OAKLEIGH THORNE, NORMAN
 SMAGLEY, BARRY ROWAN, and
 JOHN WADE,

                Defendants.


                                   JOINT STATUS REPORT

       Pursuant to the Third Amended General Order 20-0012 IN RE: CORONAVIRUS COVID-

19 PUBLIC EMERGENCY signed by Chief Judge Rebecca R. Pallmeyer on April 24, 2020 [Dkt.

86], the parties respectfully submit the following joint status report.

       Defendants filed a Motion to Dismiss the Second Amended Complaint on February 21,

2020, which is presently pending. [Dkt. 80-82.] Plaintiffs’ opposition to the motion to dismiss is

due on July 6, 2020. Prior to or in lieu of filing opposition, Plaintiffs will be filing a motion for

leave to amend the Second Amended Complaint to incorporate additional information obtained in

the course of their ongoing investigation. Plaintiffs’ motion will include a copy of the proposed

Third Amended Complaint along with a redline version. Defendants intend to oppose the motion

for leave to amend. The parties will coordinate a briefing schedule at that time and submit it to

the Court for its consideration in advance of the presentment date. The parties have not engaged

in any discovery to date because discovery and all other proceedings are stayed in accordance with
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the mandatory stay provision of the Private Securities Litigation Reform Act of 1995. 15 U.S.

Code § 78u–4(b)(3)(B). There have been no settlement discussions.

         In light of the pendency of Defendants’ motion to dismiss, and the mandatory discovery

stay currently in effect, the parties respectfully submit that there are no additional matters to be

scheduled during the next 45 days. The parties are not seeking any action from the Court by

agreement, and there are no time-sensitive, urgent matters that might necessitate a telephonic

hearing at this time.

Dated: May 18, 2020                                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that I caused a copy of the foregoing JOINT STATUS REPORT to be served on

all counsel of record by filing the same via the CM/ECF electronic filing system on May 18. 2020,

which will send electronic notice to all parties of record.

Date: May 18, 2020                                    /s/ Andrew G. May
                                                      Andrew G. May
